                           1                                         Exhibit A

                           2                                    Engagement Letter

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Morrison & Foerster LLP




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San Francisco, CA 94105
   425 Market Street




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